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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


    CHARLES LYONS,

        Plaintiff,
                                               CIVIL ACTION FILE
 v.
                                               NO. 1:24-CV-0033-MHC
    US LIVING LLC, YEHONOTAN
    SADE, and SADE CAPITAL,

        Defendants.

                                       ORDER

       On March 11, 2024, this Court entered an Order finding that Plaintiff

Charles Lyons ("Lyons")'s Complaint [Docs. 3 and 3-1] 1 was frivolous and subject

to dismissal because it did not sufficiently state the basis for subject matter

jurisdiction. Mar. 11, 2024, Order [Doc. 5]. However, in light ofLyons's prose

status, the Court provided Lyons an opportunity to amend his complaint to cure

any deficiencies. Id. at 10-12. Lyons filed Motions to Amend Complaint ("Pl.'s




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 Lyons filed a typewritten Complaint ("Compl.") [Doc. 3], along with a filled-out
Complaint for Civil Damages Form ("Compl. Form") [Doc. 3-1].
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Mot.") [Docs. 6 & 7], 2 which are now before the Court for a 28 U.S.C. § 1915(e)

frivolity determination.

I.    LEGAL STANDARD

      A federal court is required to dismiss an in forma pauperis complaint at any

time if the court determines that the action is (1) frivolous or malicious, (2) fails to

state a claim on which relief may be granted, or (3) seeks monetary relief against a

defendant who is immune from such relief. 28 U.S.C. § 1915(e)(2). A claim is

frivolous "where it lacks an arguable basis either in law or fact." Neitzke v.

Williams, 490 U.S. 319, 325 (1989). A complaint may be dismissed for failure to

state a claim if it does not plead "enough facts to state a claim to relief that is

plausible on its face." Bell Atl. Corp. v. Twombly. 550 U.S. 544, 570 (2007).

Federal Rule of Civil Procedure 8(a)(2) provides that a complaint need only

contain "a short and plain statement of the claim showing that the pleader is

entitled to relief," in order to "give the defendant fair notice of what the ... claim

is and the grounds upon which it rests." Id. at 555 (quoting Conley v. Gibson, 355



2
  Plaintiff filed two motions, but they are identical, and the Court will therefore
refer to them in the singular. Although no separate Proposed Amended Complaint
is attached to the motion, Plaintiff provides the amended cause of action in the
body of the motion, which this Court will consider for purposes of this frivolity
determination.

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U.S. 41, 47 (1957)). A plaintiff, however, may not simply plead facts in a

complaint sufficient to find that a claim to relief is merely conceivable; instead, the

complaint must set forth "enough facts to state a claim to relief that is plausible on

its face." Id. at 570. The Supreme Court has also instructed that

      [d]etermining whether a complaint states a plausible claim for relief
      will ... be a context-specific task that requires the reviewing court to
      draw on its judicial experience and common sense. But where the well-
      pleaded facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but has not
      "shown"-that the pleader is entitled to relief.

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quoting FED. R. CIV. P. 8(a)(2)) (other

citations omitted).

      The Court notes that, because Lyons is proceeding prose, his "pleadings are

held to a less stringent standard than pleadings drafted by attorneys and will,

therefore, be liberally construed." Tannenbaum v. United States, 148 F.3d 1262,

1263 (11th Cir. 1998). However, this "does not give a court license to serve as

[her] de facto counsel ... , or to rewrite an otherwise deficient pleading in order to

sustain an action." Powers v. Avondale Baptist Church, 393 F. App'x 656, 657

(11th Cir. 2010) (internal quotation marks omitted). Moreover, nothing in the

leniency accorded a pro se filing excuses a plaintiff from compliance with the

threshold requirements of the Federal Rules of Civil Procedure. See, e.g.,

Trawinski v. United Techs., 313 F.3d 1295, 1297 (11th Cir. 2002).
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II.    DISCUSSION

       Lyons filed his Complaint against Defendants Yehonotan Sade ("Sade"),

Sade Capital, and US Living LLC ("US Living"), seeking $2,500,000.00 in

"statutory, actual and punitive damages" for "toxic mold exposure, breach of

contract, negligence, and failure to disclose of mold at property." Compl. Form at

4-5.

       In its March 11, 2024, Order, the Court found that Lyons's Complaint failed

to allege the basis for this Court's subject matter jurisdiction over the case because

(1) Lyons's Complaint did not raise a question of federal law, (2) Lyons failed to

allege that the parties are completely diverse, and (3) Lyons failed to substantiate

his claim for relief ($2,500,000) with any allegations of the basis for those

damages. Mar. 11, 2024, Order at 5-6. Furthermore, the Court found that any

claims Lyons may have had arising out of negligence, fraud, and misrepresentation

were barred by the statute of limitations. Id. at 7-10. Accordingly, the Court

ordered Lyons to file an amended Complaint within fourteen days addressing the

shortcomings identified by the Court. Id. at 10-12.

       In his Motion, Lyons asks this Court "to amend diversity of citizenship to

Federal question under Contracts§ 13-6-2 as to comply with the pleading

requirements of Federal Rule of Civil Procedure 8." Pl.'s Mot. at 1. However,

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nowhere in the Motion does Lyons raise any claim arising out of federal law.

Instead, Lyons reasserts his claim for breach of contract arising out of Georgia law.

Pl.' s Mot. at 2. Such a breach of contract claim is "exclusively a matter of state

law." Fourteenth St. Venture, L.P. v. Babatund, No. 1:13-CV-01129-CAP-RGV,

2013 WL 12212558, at *2 (N.D. Ga. Apr. 30, 2013). Thus, Lyons has failed to

raise any question of federal law so as to confer federal question subject matter

jurisdiction over this case. See Caterpillar, Inc. v. Williams, 482 U.S. 386, 392

(1987) ("[F]ederaljurisdiction exists only when a federal question is presented on

the face of the plaintiffs properly pleaded complaint.").

      Lyons has also failed to amend his Complaint to sufficiently allege diversity

of citizenship subject matter jurisdiction. Specifically, the Court ordered Lyons to

list the citizenship of all members of US Living LLC, as required for limited

liability companies. Mar. 11, 2024, Order at 5-6 (citing Rolling Greens l\1HP, L.P.

v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004)). Lyons's

Motion contains no allegations regarding the citizenship of US Living LLC's

members. The Court cannot determine the citizenship of US Living LLC and,

thus, cannot know whether complete diversity exists between the parties.




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III.   CONCLUSION

       Accordingly, it is hereby ORDERED that Plaintiff Charles Lyons's Motions

to Amend Complaint [Docs. 6 & 7] are DENIED as futile. It is further

ORDERED that Plaintiffs Complaint [Docs. 3 & 3-1] is DISMISSED AS

FRIVOLOUS pursuant to 28 U.S.C. § 1915(e)(2).

       The Clerk is DIRECTED to close this case.

       IT IS SO ORDERED this 26th day of March, 2024.




                                     MARK H. COHEN
                                     United States District Judge




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